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 4   Telephone: (916) 554-2918
 5
 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )   CR. S-08-065 LKK
12             Plaintiff,              )
                                       )   STIPULATION AND
13                                     )   ORDER CONTINUING STATUS
          v.                           )   CONFERENCE
14                                     )
     TANEKA RAENEE NUNLEY,             )
15                                     )
               Defendants.             )
16                                     )
17
18
19        IT IS HEREBY STIPULATED by and between Plaintiff United
20   States of America and Attorney Dan Koukol, Counsel for Defendant
21   Taneka Raenee Nunley, that the status conference scheduled for
22   July 10, 2012, be continued to August 7, 2012, at 9:15 a.m.
23        Defense counsel needs additional time to review a recently
24   revised plea agreement with his client.        The government and
25   defendant agree that an exclusion of time is therefore
26   appropriate under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4
27   (reasonable time to prepare).      This exclusion of time includes
28   the period from July 10, 2012, up to and including August 7,

                                           1
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 1   2012.
 2           Dan Koukol agrees to this request and has authorized
 3   Assistant United States Attorney Todd D. Leras to sign this
 4   stipulation on his behalf.
 5
 6   DATED: July 6, 2012                    By: /s/ Todd D. Leras
                                                TODD D. LERAS
 7                                              Assistant U.S. Attorney
 8
 9   DATED: July 6, 2012                    By: /s/ Todd D. Leras for
                                                DAN FRANK KOUKOL
10                                              Attorney for Defendant
                                                TANEKA NUNLEY
11
12
             IT IS HEREBY ORDERED:
13
             1.   The status conference set for July 10, 2012, is
14
     continued to August 7, 2012, at 9:15 a.m.
15
             2.   Based on the stipulations and representations of the
16
     parties, the Court finds that the ends of justice outweigh the
17
     best interest of the public and defendant in a speedy trial.
18
     Accordingly, time under the Speedy Trial Act shall be excluded
19
     under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable
20
     time to prepare) from July 10, 2012, up to and including August
21
     7, 2012.
22
             IT IS SO ORDERED.
23
     Date: July 9, 2012
24
25
26
27
28
